Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                        Main Document    Page 1 of 10
Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                        Main Document    Page 2 of 10
Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                        Main Document    Page 3 of 10
Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                        Main Document    Page 4 of 10
Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                        Main Document    Page 5 of 10
Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                        Main Document    Page 6 of 10
Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                        Main Document    Page 7 of 10
Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                        Main Document    Page 8 of 10
Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                        Main Document    Page 9 of 10
Case 21-40834-drd11   Doc 233 Filed 11/17/21 Entered 11/17/21 15:17:37   Desc
                       Main Document     Page 10 of 10
